Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 1 of 99            FILED
                                                                    2023 Aug-18 PM 04:47
                                                                    U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 2 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 3 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 4 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 5 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 6 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 7 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 8 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 9 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 10 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 11 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 12 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 13 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 14 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 15 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 16 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 17 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 18 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 19 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 20 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 21 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 22 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 23 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 24 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 25 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 26 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 27 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 28 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 29 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 30 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 31 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 32 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 33 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 34 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 35 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 36 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 37 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 38 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 39 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 40 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 41 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 42 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 43 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 44 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 45 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 46 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 47 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 48 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 49 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 50 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 51 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 52 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 53 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 54 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 55 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 56 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 57 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 58 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 59 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 60 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 61 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 62 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 63 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 64 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 65 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 66 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 67 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 68 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 69 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 70 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 71 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 72 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 73 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 74 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 75 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 76 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 77 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 78 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 79 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 80 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 81 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 82 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 83 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 84 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 85 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 86 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 87 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 88 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 89 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 90 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 91 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 92 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 93 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 94 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 95 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 96 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 97 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 98 of 99
Case 2:21-cv-01530-AMM Document 266-3 Filed 08/18/23 Page 99 of 99
